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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )
         v.                                      )       CASE NO.: 1:10-CR-93-TLS
                                                 )
 DAROL LEON FLOYD                                )

                 ORDER ACCEPTING FINDINGS AND RECOMMENDATION

         This matter is before the Court on the Findings and Recommendation of the United States

 Magistrate Judge [ECF No. 31], filed on February 9, 2011. The Defendant has waived objection to

 the Findings and Recommendation, and the Court, being duly advised, adopts the Findings and

 Recommendation [ECF No. 31] in its entirety and accepts the recommended disposition. Subject to

 this Court’s consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11(c)(3), the plea of

 guilty to the offense charged in the Indictment is hereby accepted, and the Defendant is adjudged

 guilty of such offense.

         The sentencing hearing set for May 9, 2011, at 10:30 AM, and telephone status conference

 set for May 2, 2011, at 10:30 AM regarding potential sentencing issues before Judge Theresa L are

 REAFFIRMED. Springmann. Any request for a sentence involving a departure under the United

 States Sentencing Guidelines, or for a variance above or below a Guidelines sentence pursuant to 18

 U.S.C. § 3553(a), with the exception of matters raised pursuant to §5K1.1 of the Guidelines, shall be

 communicated to the probation officer and opposing counsel, in writing, within fourteen (14) days

 following initial disclosure of the presentence report. Any sentencing memorandum addressing these

 or any other issues, including requests for a departure based on § 5K1.1, shall be filed with the Court

 no later than seven (7) days prior to the sentencing hearing.

         SO ORDERED on March 9, 2011.

                                                 s/ Theresa L. Springmann
                                                 THERESA L. SPRINGMANN
                                                 UNITED STATES DISTRICT COURT
